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DEPUTY

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT sEATTLE
UNITED STATES oF AMERICA, NO. MJ l 8 "' 34/
Piaintiff, CoMPLAINT FoR vIoLATloNs
v. 18 U.s.C. § 922(g)(1)
LEo M. DICKERsoN, '
, Defendant.

 

BEFORE the Honorable Mary Alice Theiler, United States Magistrate Judge,
United States District Courthouse, Seattle, Washington. `

The undersigned complainant being duly sworn states:

M
(Unlawful Possession of a Firearm)

On or about January 31, 2018, in the City of Auburn, Within the Western District
of Washington, LEO M. DICKERSON, after having been convicted of the following
crime punishable by a term of imprisonment exceeding one year:

Theft in the First Degree, in King County Superior Court, Washington,
under cause number 09-8-04133-6, dated on or about Eebmary 4, 2010;

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did knowingly possess, in and affecting interstate and foreign commerce,~ a firearm, that
is: one Heckler & Koch (HK) USP 9mm semi-automatic handgun bearing serial numb
24-123895, that had been shipped and transported in interstate and foreign commerce.
'All in violation of Title 18, United States Code, Section 922(g)(l).
_(M`_Z
(Unlawful Possession of a Firearm)

On or about July 17, 2018, in the City of Tacoma, within the Western District of
Washington, LEO M. DICKERSON, after having been convicted of the following crime
punishable by a term of imprisonment exceeding one year:

Theft in the First Degree, in King County Superior Court, Washington,

under cause number 09-8-04133-6, dated on or about February 4, 2010;
did knowingly possess, in and affecting interstate and foreign commerce, a firearm, that
is: one Glock 26 9mm semi-automatic handgun bearing serial number BARU497, that
had been shipped and transported in interstate and foreign commerce.

All in violation of Title 18, United States Code, Section 922(g)(l).

The undersigned complainant, Benjamin Hughey, being first duly sworn on
oath, deposes and says:

]_ZACKGROUND AN]_) OUALIFICATIONS

l. I am an investigative or law enforcement officer of the United States within
the meaning of Title 18, United States Code, Section 2510(7). I am employed as a
Detective with the Seattle Police Department (“SPD”), and have been employed with'
SPD for nineteen years. l am currently assigned to §PD’s Gang Unit, and I am a Tasl<
Force Offlcer (“TFO”) as part of the Federal Bureau of Investigations Seattle Safe Streets
Task Force.

2. l was hired by SPD in 1998. I entered the Washington State Sea-King
Academy on September 8, 1998, and graduated in February 1999 with the necessary 880
hours of training completed. After completing the mandatory three months of Student

Officer Training, I began my career with the SPD East Precinct Patrol Division, and

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worked in that capacity from 1999 to 2001. From 2001 to 2007, I was assigned to the
SPD South Precinct Patrol Division.

3. In my assignment to patrol in both the East and South Precinct areas of
Seattle, myduties provided me the opportunity to speak with, and begin initial
investigations into crimes committed by, criminals and/or gang members on a daily basis.
Specifically, the areas l was assigned to while on patrol were considered gang-
afiiliated/controlled territories of Seattle with heavy gang activity and populations. Due
to the high level of gang activity in the areas l worked, the majority of my proactive
police work involved: contacting and interacting with known gang members; keeping
track of gang members to include their affiliations, crimes, and trends; conducting crime
and gang suppression; and beginning initial investigations into serious felony crimes
committed by known gang members. y

4. l transferred to the SPD Gang Unit as a detective in March 2007 and
became a TFO and member of the FBI Safe Streets Task Force in 2012. As a TFO, l am
also deputized by the United States Marshal Service.

5. In my assignment to the Seattle Police Gang Unit, l have continued my
interactions with and investigations into known criminals and gang members. As part of
my responsibilities within the Gang Unit I routinely conduct uniformed gang suppression
patrol in all areas of Seattle, and I am responsible for tracking and identifying criminal
street gang members, activities, and gang trends throughout Seattle and King County. My
additional responsibilities in the gang unit include being the primary follow-up detective
on felony-level crimes committed by gang members in Seattle. These investigations
include narcotics sales, illegal possession of firearms, robberies, burglaries, thefts,
assaults, shootings, drive-by shootings, prostitution, and working gang related homicides.
Additionally, my responsibilities include working as part of the FBI Safe Streets (Gang)
Task Force conducting surveillance on gang targets while initiating and participating in
short- and long-term gang Suppression investigations utilizing informants, undercover

surveillance, direct action, and Title III wiretaps.

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6. This Affidavit is made based upon my personal knowledge, training, .
experience, and investigation, as well as upon information provided to me by and my
review of reports prepared by other law enforcement personnel. This Affidavit is made
for the purpose of establishing probable cause for this Complaint and thus does not
include each and every fact known to me concerning this investigation

SUMMARY OF PROBABLE CAUSE - COUNT l
A. The Defendant.

9. l am personally familiar with the Defendant, LEO M. DICKERSON, from
my time in the SPD Gang Unit. LEO M. DICKERSON is a member of the 44 Holly
Blocc criminal street gang, a South Seattle street gang. LEO M. DICKERSON goes by
the moniker “Baby Leo”

B. Arrest of LEO M. DICKERSON and Recovery of a Handgun on January 21,

2018.

lO. This investigation is memorialized under Seattle Police case number 2018-
3 8 l 8 l .

` ll. From September 2017 through Cotober 2017, Kent Police Detective Eric
Doherty conducted multiple related investigations into drive-by shootings and illegal
weapons possession within the City of Kent and surrounding areas. As part of these
investigations he viewed the social media profiles of the suspects and their associates.
One of these individuals was D.W., born in 1994.

12. On October l9, 2017, Detective Doherty viewed D.W.’s “Snapchat story”.
A Snapchat story is a running collection of videos and images posted by a user in the
previous 24 hours. D.W. posted a series of videos which depicted himself and friends

riding around in a vehicle. One of the friends was easily recognizable as LEO M.

DICKERSON, born in 1996), AKA: “Baby Leo”, a 44 Holly Blocc, Crip Squad clique,

criminal street gang member. Both Detective Doherty and I are familiar with LEO M.

DICKERSON from other investigations and can recognize him from sight.

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13. In the Snapchat storyvideos, Deshawn and LEO M. DICKERSON can be
seen taking turns holding a black7.62x3 9mm AK-style pistol, which appears to be a real
and functional firearm based upon the following physical characteristics

14. The firearm appears to be a Century Arms AK pistol. The weapon has a
two-position, receiver mounted, safety lever. j lt has a leaf-style trunnion mounted rear
sight and post-style front sight. The weapon has a Picatinny style quad rail for mounting
accessories (like flashlights and optics). At one point in one of the videos, one can see
partially down the barrel. It is obvious that the barrel is not plugged and appears
consistent with a 7.62X3 9mm barrel and not an airsoft replica. Airsoft guns have a
smaller diameter barrel inserted inside the outer barrel. This allows the airsof`t gun to
appear from a distance to have a similar diameter barrel to an authentic gun. However,
when looking down the barrel of an airsoft gun, the smaller diameter inner barrel is
visible. The weapon appears to be equipped with a Bulgarian Circle waffie pattern
magazine. In one of the videos, LEO M. DICKERSON has the magazine removed from
the gun. He holds the magazine so that the ammunition is visible to the camera, revealing
what appear to be live 7.62X3 9mm rounds. The rounds appear to be steel-eased with full
metal jacket copper jacketing, common with imported east-European ammunition. This
style of ammunition is inexpensive, easily obtained, and commonly used within the
United States with 7.62X39mm firearms l viewed the same videos and came to the same
conclusions as Detective Doherty. l

15. Detective Doherty was able to view these videos on October 19, 2017, just
after 1300 hours. The videos had a graphic overlay on the top left which indicated how
long ago they were created and posted. The first set of videos stated "22h ago" and the
later set of videos stated "20h ago."

l6. In one of videos of the first set, a residential area is visible out of the
window. Based on the houses and other geographic features seen, the location was
identified as the 10400 block of Rainier Avenue South, in Seattle, Washington. D.W. is
seen holding the AK style pistol in this video. In the second set of videos, the vehicle

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appears to be stopped in the left-hand turn lane under an underpass of a freeway. LEO
M. DICKERSON is seen holding the AK pistol in these videos.

17. In both sets of videos, LEO M. DICKERSON and D.W. are wearing the
same clothing, are in the same vehicle, and possessing the same AK pistol. Even with the
approximate two-hour difference in timing between the first and second set of videos, it
would have been impossible for them to have traveled out of Washington state, thus LEO
M. DICKERSON possessed the AK pistol within the state of Washington.

18. LEO M. DICKERSON has previously been convicted of the following
crime, punishable by imprisonment for a term exceeding one year: Theft in the First
Degree, in King County Superior Court, Washington, under cause number 09-8-04133-6,
dated on or about February 4, 2010;

l9. Detective Doherty memorialized his investigation, and the establishment of
probable cause to arrest LEO M. DICKERSON for the crime of RCW 9.41.040,
Unlawful Possession of a Firearm, under Kent Police #18-739.

20. On January 31, 2018, Seattle Police Gang Detectives set out to locate LEO
M. DICKERSON and arrest him on Detective Doherty’s probable cause. At
approximately 1130 hours DICKERSON Was located at 1309 M Street SE, Auburn,
Washington, 98002. DICKERSON was seen looking out of the both upstairs and
downstairs windows of the residence. I later learned that this is the current residence of
his girlfriend and mother of his child, B.M. Surveillance was put in place around the
residence while an arrest plan was developed 7

21. A few minutes before approximately 1515 hours, a blue 1995 Buick
LaSabre, Minnesota license plate #028WIN, pulled into the driveway of the residence. A
black female with an approximately two-year-old child exited the vehicle and entered the
front door to the residence. The female’s face was never seen by surveillance, thus a
positive identification was never made. At approximately 1515 hours, DICKERSON was
seen leaving the residence. He approached the suspect vehicle on the passenger side.

From somewhere within the vehicle, he retrieved a red backpack, consistent with an

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adult’s backpack, that he carried by a single strap. The backpack Was weighted down .
with unknown obj ect/s, however the weight of the object and the size of the bag would
have been consistent with firearms up to and including an AK pistol.

22. After darkness fell, B.M. exited the residence and entered what appeared to
be the driver’s seat of the vehicle, DICKERSON got into what appeared to be the front
passenger seat. Neither was in possession of the red backpack detectives had seen earlier.
The vehicle was followed to an apartment complex located at 15044 Macadam Rd. S.
where both B.M. and DICKERSON exited and walked into an unidentified apartment
before arrest teams could move in.

23. At 1930 hours, DICKERSON and B.M. returned to the suspect vehicle with
a third individual, B.P.. Arrest teams were called in to make the arrest. As the arrest
teams moved in, they saw that DICKERSON was leaning into the driver's seat area of the
suspect vehicle, B.M. was contacted while seated in the right rear seat of the suspect
vehicle and B.P. was contacted in the left rear passenger seat. When all three were
contacted, the vehicle keys were in the ignition and the car was running.

24. Uniformed Gang Unit detectives drove up upon the three, activated their
emergency equipment, and exited their vehicles to verbally address the three.
DICKERSON looked at the officers and immediately made a furtive movement by
reaching towards the driver’s center armrest console before he stood out of the car and
threw his hands into the air. The furtive movement greatly concerned the detectives
making the arrest, as they knew DICKERSON was wanted for a firearm that had yet to
be recovered, and the furtive movement could have been consistent with
sloughing/concealing a firearm. All three individuals were detained by utilizing a high-
risk vehicle stop tactics. DICKERSON was arrested. During a search incident to arrest,
a cellular phone was located in DICKERSON’s left front pants. The phone was seized by

detectives and later placed into evidence.

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DICKERSON looking

 

towards officers and
making a furtive

movement.

 

 

 

 

Video still from Seattle Police in-car DVR
25. Immediately after DICKERSON’s arrest, thearresting detectives informed

me of DICKERSON’s furtive movement and their belief that he~may have been

sloughing a firearm. The driver’s door of the suspect vehicle Was left open, and I looked
upon the interior of the vehicle while remaining outside of the car. l saw that the driver’s
center console was the type that can lift out of the way and tuck back up against the front
seat backs, and can also open to reveal a compartment Based upon the size of the center _
console it was clear to me that a firearm could have been concealed underneath, or

within, the console.

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Photograph showing the center console

26. All three suspects Were separated and independently asked who owned the
suspect vehicle, All three denied personally owning the Vehicle or to having knowledge
of who owned the vehicle. I asked B.P. and B.M. if they had any personal property in
the vehicle that belonged to them. B.P. admitted that a white Samsung cell phone, which
was lying on the left rear passenger seat, belonged to her. The phone was later confirmed
to be hers (via picture on the lock screen and knowledge of the lock code) and returned to
her. B.M. admitted that a child car seat, which was secured into the center rear seat
position in the vehicle, belonged to her and was for her child (who was not present). She
admitted that the child’s father was DICKERSONand the child’s name was J.D. Both .
B.P. and B.M. claimed no further property in the vehicle as being theirs.

27. l later looked at and photographed the car seat which was fully installed
into the suspect vehicle. Both the fact that DICKERSON had the keys in the ignition‘of
the running vehicle, and the fact that he and B.M. had their child seat fully installed into

the suspect vehicle, contradicted their statement they did not own the vehicle, .

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Photo of car seat installed in suspect vehicle

28. A record check of B.M. revealed she had outstanding $5050 felony warrant

for 0rganized Retail Theft in the Second Degree. She also had numerous misdemeanor
Warrants. The felony warrant Was verified and she was booked into the King County Jail.
The misdemeanor warrants could not be verified as they were good for booking into Kent
Jail or SCORE only.

29. B.P. was interviewed and released from the scene.

30. I informed DICKERSON of his Miranda rights, which he invoked.
DICKERSON was booked into the King County Jail. Additionally, DICKERSON had
two misdemeanor warrants which could not be verified as they were good for booking
into Kent jail only. 1

31. The suspect vehicle was impounded to the Seattle Police processing room
pending a search warrant.

32. On February 1, 2018, Superior Court Judge Julie Spector reviewed and
signed a search Warrant to Search the suspect vehicle for firearm and cellular telephone
evidence. l executed the warrant on the same day.

33. j During the warrant, I recovered or noted two items of dominion and control
over the vehicle, One was a pair of 54x32 jeans from the trunk of the vehicle. These
jeans are of the size to have belonged to DICKERSON (who is approximately 5’_05 tall
and weighs 350 pounds). Also, located in the trunk was stuffed animal used as a signed

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birthday card for DICKERSON. Numerous people whom l know to be DICKERSON’s
acquaintances signed the card and wished him a happy birthday. One person signed the
card mentioning that he (DlCKERSON) should join the “NRA” (National Rifle

Association). I believe this to possibly be in reference to DICKERSON’s possession of

firearms

   

Size 54x32 jeans and a stuffed animal birthday card from trunk

34. Two live .40 caliber bullets were recovered from the driver’s center console
area that it appeared DICKERSON had been leaning toward.

35. Recovered from the right rear passenger floorboards, covered with a piece
of clothing and some trash, was a full-sized Heckler & Kock (HK) USP 9mm semi-
automatic handgun. The handgun had a 9mm bullet loaded into the chamber ready to
fire. It also had a 15-round magazine inserted which contained 14 more 9mm bullets of
varying manufacturer. The firearm bore serial number 24-123 895, however a records

check revealed no known registered owner.

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HK USP 9mm Bullets recovered from handgun

36. No further cellular phones were seen or recovered.

37. On February l, 2018, King County Superior Court Judge Veronica Alicea
Galvan reviewed and signed a search warrant to extract the cell phone contents of
DICKERSON’s phone from October 17, 2017 to January 31, 2018. I reviewed the
electronic contents seized. From the contents, l saw that DICKERSON is routinely
engaged in buying and selling guns via text messages in which he routinely identifies
himself by name. There are multiple occurrences of such in his phone data, as detailed
below. Of note, not all the data was recoverable from the phone as some messages had
deleted portions and some messages Were continued via social media apps, which l did
not have access to. The data that could be recovered allowed me to put together the
following:

a. On November 6, 2017, Leo M. DICKERSON begins a text conversation with
XXX-XXX-9897, identified in Leo M. DICKERSON’s contacts as “Raymonte.”
Raymonte asks DICKERSON “What’s in the market” and “I just need a lil rocket
nothing big,” meaning he is looking for a handgun. DICKERSON responds that
he is going to look for one. DICKERSON then sends Raymonte a photo of a
possible Browning Hi Power (possible 9mm) handgun. Raymonte asks how
much, and DICKERSON responds $400.

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Browning Hi Power

b. On November 20, 2017, DICKERSON (“cripsquadd” on Snapchat) has a Snapchat

conversation with “dherb003”. dherb003 asks DICKERSON to find him a
“glizzy” (slang for GLOCK). dherb003 also sends DICKERSON a picture that
was marked as “missing file” by DICKERS()N’s phone and asks DICKERSON to

' find someone to buy it. During the conversation, DICKERSON ask how much

and dherboO3 says 8250. dherboO3 also says he is willing to do a trade
DICKERSON agrees to trade dherb003 a Ruger (a handgun) and get paid $250 for
the trade DICKERSON also asks if dherb003’s is a .3 80 (caliber). dherb003
responds that it is a 9 (mm). dherb003 informs DICKERSON that he would rather
keep his than do the trade.

. Also on November 20, 2017, DICKERSON reaches out to XXX-XXX-0947.

DICKERSON had no contact information for this phone number. During the short
conversation, the other party sends DICKERSON a picture of a Kel-Tec P-11
9mm handgun with an extended magazine DICKERSON asks to purchase the
gun for $250 immediately.

 

Kel-Tec P-l 1

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. On the same date, DICKERSON searches the internet for “how to clean DNA off

bullets” and “what happens if I dip a bullet in bleach”.

. On November 22, 2017, DICKERSON receives a text from XXX-XXX-0152,

identified as “Timmy” in DICKERSON’s contacts. Timmy sends DICKERSON a
picture of a handgun (appears to be a Beretta 92) with an extended magazine lying
on his lap. On November 25, 2017 , Timmy texts DICKERSON, “You tryna get
this 9”. Based upon the texts it appears as if Timmy is trying to sell DICKERSON
a Beretta 92 9mm. '

 

Beretta 92 (or similar)

On November 25, 2017, dherb003 and DICKERSON have another conversation
about DICKERSON no longer having a 40 caliber, but now being in possession of
a 9mm Smith and,Wesson.

. On December 4, 2017, DICKERSON searches the internet for “how can l find out

if my firearm is stolen.”

. On December l 1, 2017, DICKERSON is texting XXX-XXX-2186, identified as

“Duke” in DICKERSON’s contacts. At one point DICKERSON inquires how to
purchase all three DICKERSON then asks what Duke wants for the Smith (S&W
handgun). Duke responds $350. Duke then texts DICKERSON a picture of three
guns, what appears to be a Smith and Wesson 453 9mm handgun, a AMT Backup '
.3 80 caliber semi-auto, and a Smith and Wesson revolver. This appears to be the
“three” DICKERSON was asking about earlier in the conversation.

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S&W 453 (top), AMT Backup (bottom left),s
and a S&W revolver (bottom right)

i. On December 13, 2017, DICKERSON sends the picture of the three handguns to a
new contact for unknown reasons.

j. On January 4, 2018, DICKERSON is trying to broker a deal to sell a Kimber
(unknown 9mm or .45 caliber) handgun to another person for $5 00 dollars.
DICKERSON receives the picture of the handgun from XXX-XXX-l 350 and then

1 sends the picture to XXX-XXX-9878, identified as “Mondo” in his contacts.
DICKERSON attempts to sell the Kimber for $500, but “Mondo” counters for
$450.

 

Kimber

k. On January 8, 2018, DICKERSON receives a text from XXX-XXX-l350, who
sends him a picture of a shotgun (possibly a Remington 870 12-gauge) lying next
to his leg in a vehicle for unknown reasons.

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Remington 870 (or similar)

l. On January 14, 2018, DICKERSON texts a picture of a Mac-lO/ll type handgun
to XXX-XXX-9878. The picture appears to be of the gun lying a Wood floor
common in residential homes. '

 

Mac-10 or 11

m. On January 18, 2018, DICKERSON has a conversation with “Dwayne”’at XXX-
XXX-0787. DICKERSON asks for the picture and Dwayne sends him two
pictures of a Springfield XD handgun. They have a conversation about meeting
up and share an address to meet.

   

Springfield XD

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n. Throughout DICKERSON’s cell phone internet search history, DICKERSON
researches guns, the prices of guns, the locations of gun stores, shooting ranges,
high capacity magazines for handguns, and ammunition.

38. On February 2, 2018, Superior Court Judge Julie Spector reviewed and
signed a search warrant to search DICKERSON’s address at 1309 M Street SE #A, in
Auburn, Washington. The warrant was executed: however, DICKERSON, who Was
released on his own recognizance pending a second appearance for Detective Doherty’s
investigation, was not horne at the time of the search warrant. No firearms were located
during the search. However, a fully loaded 30-round magazine for a 5.56 caliber rifle
(AR-15 style) was located, along with a fully loaded 31-round high-capacity 9mm Glock
handgun magazine and a loaded lO-round standard capacity Glock 9mm handgun

magazine

   

AR-IS, high capacity 9mm, and standard 9mm magazines
Pictured on right is the AR-15 magazine loaded.

39. The recovered Heckler & Kock USP 9mm handgun was submitted for
latent print analysis (pending). DNA samples were obtained from the handgun and
retained for future testing.

40. On July 24, 2018, Alcohol, Tobacco, and Firearms (ATF) Special Agent
Catherine Cole, who has received specialized training in the recognition and
identification of firearms and ammunition and their plaice of manufacture, reviewed the
photographs and information on the recovered Heckler & Kock USP 9mm handgun

bearing serial number 24-123895. She determined that it is a firearm according to 18

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U.S.C. § 921(a)(3), and that it was not manufactured in the state of Washington. Thus,
the firearm must have traveled in/or affected interstate or foreign commerce in order to be
found in Washington. _

41. Based upon the facts of described above, LEO M. DICKERSON was in
possession of a firearm that had traveled across state lines, was loaded with a 15-round
magazine, and his possession was illegal based upon his felony conviction history.

SUMMARY OF PROBABLE CAUSE - COUNT 2

_A. DICKERSON’s Arrest and Recovery of a Handgun on July 17, 2018.

42. This investigation is memorialized under Seattle Police case number 2018-
263739. 4

43. After his January 31, 2018 arrest, Leo M. DICKERSON was released from t
jail pending trial. DICKERSON failed to appear at court for his arraignment On March
8, 2018, King County Superior Court Judge John Chun issued a felony $5050 failure to
appear warrant for DICKERSON’s arrest. This warrant was issued under King County
Superior Court cause number 18-1-00373-0 SEA.

44. On July 6, 2018, King County Superior Court Judge Jim Rogers issued a
felony 8100,000 warrant for the arrest of DICKERSON for Eluding a Police Vehicle
The warrant was issued under King County Superior Court cause number 18-1-02815-5
SEA.

45. On July 17, 2018, detectives from the SPD Gang Unit and deputies from
the United States Marshals Service conducted an operation to locate and arrest
DICKERSON for his two felony warrants. Based upon DICKERSON’s history,
detectives and deputies were briefed that there was a likelihood that DICKERSON would
be armed with a firearm at the time of his arrest.

46. At approximately 1810 hours, DICKERSON was observed walking in a
parking lot of an apartment complex at 10740 17th Avenue South, in Tacoma,
Washington. DICKERSON was walking alone with no other people visible anywhere in
his vicinity. Arrest teams moved in and made verbal contact with DICKERSON. The

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arrest teams were all wearing full Police markings and operating vehicles equipped with

red and blue flashing lights Detective Lilje, of the SPD Gang Unit, exited his vehicle as
one of the arrest team members and yelled, “Police! Stop!” Detective Lilje heard at least
one other Detective/Deputy yell the same thing. DICKERSON turned to look at
Detective Lilje, then turned again and jogged approximately 5 feet away. DICKERON
had a plaid backpack in his hand, which he threw into the air. The bag landed on top of
and near the edge of a nearby carport roof. Detective Lilje heard a loud thud as it landed

on the roof, causing him to believe the bag contained a heavy object Immediately after

~ throwing the backpack away LEO M. DICKERSON stopped, held his hands out to his

sides, and followed commands He was taken into custody without further incident

47. DICKERSON Was read his Miranda rights and stated that he understood
them. He was asked what was in his backpack, and he declined to answer by saying,
“I’m not talking to you. Don’t ask me any more questions.” No weapons were found on
his person during a search incident to his arrest Per SPD Policy, detectives and officers
cannot leave unsecured prisoner property in an area where it may be subject to damage or
theft while a prisoner is in Police custody. DICKERSON would not speak to
Detectives/Deputies and did not identify anyone with whom he would like to leave the
backpack. Because of this, his backpack was recovered from the roof by
Detectives/Deputies for safekeeping

48. Both DICKERSON and the backpack were taken to the SPD Headquarters
building while paperwork was completed_to book him into King County Jail for his
warrants The backpack was not opened prior to taking it to the SPD Headquarters
building. At SPD Headquarters, the contents of the backpack were inventoried prior to
placing it into safekeeping. This is required by SPD Policy and it is an important step to
prevent the unintentional introduction of flammable, toxic, explosive or otherwise
dangerous items, live animals, perishable items, or other prohibited items into the
evidence storage area without anyone’s knowledge It is a standard procedure that all

SPD officers and detectives perform prior to placing any container into safekeeping,

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evidence, or the King County Jail prisoner property. If no dangerous or otherwise
prohibited items are found, the property is placed into safekeeping in the evidence unit
Small items that fit inside pockets can accompany an arrestee to jail.

49. Detective Lilje opened the backpack to conduct his mandatory inventory
search. When he opened the backpack, he could see that it contained a pistol with a high-
capacity drum magazine inserted into the magazine well. Detective Lilje immediately
recognized the handgun as a Glock model 26, 9mm pistol. The drum magazine Was very
large and appearedto Detective Lilje to be the type capable of holding 50 rounds of 9mm
ammunition. This is an unusually large magazine size and based on the apparent weight
of the backpack, Detective Lilje estimated that the magazine was full, or nearly full of
ammunition Detective Lilje could also see two more standard capacity Glock
magazines, with ammunition protruding from the top, within the backpack. The
backpack also appeared to contain some glass jars with suspected marijuana and several

clear plastic bags

 

 

Picture of the contents of` the backpack as Detective Lilje saw them upon opening
50. Detective Lilje sealed the backpack based upon the discovery of the
illegally possessed firearm. Detective Lilje applied for a search warrant to recover the

pistol and search for additional firearms evidence in the backpack. The warrant was

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approved and issued electronically by King County Superior Court Judge Sean
O’Donnell. _
51. Detective Lilje executed his warrant and recovered the handgun with the 50-
round drum magazine and two additional magazines While packaging the items for
evidence, Detective Lilje found that the Glock 26, serial number -BARU497, was loaded
with a bullet in the chamber. Additionally, the inserted drum magazine contained 50
additional rounds of 9mm ammunition The two other magazines recovered were of a

standard capacity and contained 14 and ten rounds of 9mm respectively.

 

Pictures of the recovered items as found, and unloaded

52. The firearm, magazines and ammunition were placed into evidence with a
request for fingerprints

53. On July 26, 2018 ATF Special Agent Catherine Cole, who has received
specialized training in the recognition and identification of firearms and ammunition and
their plaice of manufacture, reviewed the photographs and information on the recovered
Glock model 26, 9mm handgun bearing serial number BARU497. She determined that it
is a firearm according to 18 U.S.C. § 921(a)(3), and that it was not manufactured in the
state of Washington Thus, the firearm must have traveled in/or affected interstate or
foreign commerce in order to be found in Washington

54. Based upon the facts of described above, DICKERSON was in possession
of a firearm that had traveled across state lines, was loaded with 50-round magazine, and
his possession was illegal based upon his felony conviction history.

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M_L_IM
55. Based on the aforementioned facts, l believe that LEO M. DICKERSON
committed the crime of Felon in Possession of a Firearm (two counts), in violation of

Title 18, United States Code, Section 922(g)(1).

Benj amin Hughey,¢`a:l??f)rce Officer
Federal Bureau of nv tigation
Based on the Complaint and Affidavit sworn to before me, and subscribed in my

presence, the Court hereby finds that there is probable cause to believe the Defendant

committed the offenses set forth in the Complaint

DATED this 27th day of July, 2018.

nwa

The Honorable Mary Alice TDler
United States Magistrate Judge

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